Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 1 of 26 Page ID #:7




                  Exhibit
                    1



                                 Ex. 1

                                   6
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 2 of 26 Page ID #:8




                                 Ex. 1

                                   7
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 3 of 26 Page ID #:9




                                 Ex. 1

                                   8
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 4 of 26 Page ID #:10




                                  Ex. 1

                                   9
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 5 of 26 Page ID #:11




                                  Ex. 1

                                   10
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 6 of 26 Page ID #:12




                                  Ex. 1

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Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 7 of 26 Page ID #:13




                                  Ex. 1

                                   12
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 8 of 26 Page ID #:14




                                  Ex. 1

                                   13
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 9 of 26 Page ID #:15




                                  Ex. 1

                                   14
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 10 of 26 Page ID #:16




                                   Ex. 1

                                    15
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 11 of 26 Page ID #:17




                                   Ex. 1

                                    16
Electronically FILED by Superior Court of California, County of Los Angeles on 10/29/2020 10:16 AM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,DeputyCM-010
                                                                                                                                                                            Clerk
                           Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 12 of 26 Page ID #:18
                                                                                       20STCV41573
           ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                          FOR COURT USE ONLY
             Taylor Rayfield, Esq. (SBN 272300)
             GREENE BROILLET & WHEELER, LLP
             100 Wilshire Boulevard, 21st Floor
             Santa Monica, California 90407-2131
                 TELEPHONE NO.: (310) 576-1200              FAX NO.: (310) 576-1220

           ATTORNEY FOR (Name): Plaintiff, JANE ROE

          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
               STREET ADDRESS: 111 North Hill Street

              MAILING ADDRESS: 111 North Hill Street, Los Angeles, CA 90012

              CITY AND ZIP CODE: Los Angeles 90012

                  BRANCH NAME: Stanley Mosk Courthouse

            CASE NAME: ROE v. PUIG

                                                                                                   CASE NUMBER:
                   CIVIL CASE COVER SHEET                      Complex Case Designation
                   Unlimited         Limited
                                                                 Counter             Joinder
                   (Amount           (Amount                                                        JUDGE:
                   demanded          demanded is          Filed with first appearance by defendant
                   exceeds $25,000)  $25,000 or less)         (Cal. Rules of Court, rule 3.402)      DEPT:

                                           Items 1–6 below must be completed (see instructions on page 2).
          1. Check one box below for the case type that best describes this case:
              Auto Tort                                              Contract                                        Provisionally Complex Civil Litigation
                    Auto (22)                                              Breach of contract/warranty (06)          (Cal. Rules of Court, rules 3.400–3.403)
                    Uninsured motorist (46)                                Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
              Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                           Construction defect (10)
              Damage/Wrongful Death) Tort                                  Insurance coverage (18)                          Mass tort (40)
                    Asbestos (04)                                          Other contract (37)                            Securities litigation (28)
                    Product liability (24)                           Real Property                                        Environmental/Toxic tort (30)
                    Medical malpractice (45)                               Eminent domain/Inverse                         Insurance coverage claims arising from the
                    Other PI/PD/WD (23)                                    condemnation (14)                              above listed provisionally complex case
              Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                         types (41)
                    Business tort/unfair business practice (07)                                                      Enforcement of Judgment
                                                                           Other real property (26)
                                                                     Unlawful Detainer                                    Enforcement of judgment (20)
                    Civil rights (08)
                                                                           Commercial (31)                           Miscellaneous Civil Complaint
                    Defamation (13)
                                                                           Residential (32)                               RICO (27)
                    Fraud (16)
                                                                           Drugs (38)                                     Other complaint (not specified above) (42)
                    Intellectual property (19)
                                                                     Judicial Review                                 Miscellaneous Civil Petition
                    Professional negligence (25)
                                                                           Asset forfeiture (05)                          Partnership and corporate governance (21)
                    Other non-PI/PD/WD tort (35)
                                                                           Petition re: arbitration award (11)            Other petition (not specified above) (43)
              Employment
                    wrongful termination (36)                              Writ of mandate (02)
                    Other employment (15)                                  Other judicial review (39)
          2. This case         is        is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
             factors requiring exceptional judicial management:
             a.        Large number of separately represented parties d.                Large number of witnesses
             b.        Extensive motion practice raising difficult or novel e.          Coordination with related actions pending in one or more courts
                       issues that will be time-consuming to resolve                    in other counties, states, or countries, or in a federal court
             c.        Substantial amount of documentary evidence           f.          Substantial postjudgment judicial supervision
          3. Remedies sought (check all that apply): a.        monetary b.        nonmonetary; declaratory or injunctive relief            c.     punitive
          4. Number of causes of action (specify): Four (4), Assault & Battery, Intentional Infliction of Emotional Distress, Neglegence, False Imprisonment.
          5. This case         is      is not a class action suit.
          6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: October 29, 2020
          Taylor Rayfield, Esq. (SBN 272300)                                                        
                                             (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

                                                                                NOTICE
            • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
              under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
              in sanctions.
            • File this cover sheet in addition to any cover sheet required by local court rule.
            • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
              other parties to the action or proceeding.
            • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                                Page 1 of 2

          Form Adopted for Mandatory Use                                                                                          Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
            Judicial Council of California                            CIVIL CASE COVER
                                                                                  Ex. 1 SHEET                                             Cal. Standards of Judicial Administration, std. 3.10
             CM-010 [Rev. July 1, 2007]                                                                                                                                 www.courtinfo.ca.gov

                                                                                             17
            Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 13 of 26 Page ID #:19
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 20STCV41573

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Kristin S. Escalante               29




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       10/30/2020
    on _____________________________                                        D. Williams
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)                            Ex. 1
                           NOTICE OF CASE ASSIGNMENT  – UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                  18
             Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 14 of 26 Page ID #:20
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)                             Ex. 1
                            NOTICE OF CASE ASSIGNMENT  – UNLIMITED CIVIL CASE
LASC Approved 05/06
                                                                     19
Electronically FILED by Superior Court of California, County of Los Angeles on 10/30/2020 09:47 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariano,Deputy Clerk
                           Case 2:20-cv-11064 Document 1-120STCV41573
                                                             Filed 12/04/20 Page 15 of 26 Page ID #:21 SUM-100
                                                         SUMMONS                                                                              FOR COURT USE ONLY
                                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                                (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):
           YASIEL PUIG; and DOES 1-100, inclusive,


           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTÁ DEMANDANDO EL DEMANDANTE):
           JANE ROE,


            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
            que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podrá quitar su sueldo, dinero y bienes sin más advertencia.
               Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
          The name and address of the court is:                                                                               CASE NUMBER:


                                                                                                                                               20STCV41573
                                                                                                                              (Número del Caso):
          (El nombre y dirección de la corte es):
          SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
          111 North Hill Street
          111 North Hill Street, Los Angeles, CA 90012
          Los Angeles 90012
          Stanley Mosk Courthouse
          The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
          (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
          Taylor Rayfield, Esq. (SBN 272300)          (310) 576-1200 (310) 576-1220
          GREENE BROILLET & WHEELER, LLP
          100 Wilshire Blvd., 21st Fl., P.O. Box 2131, Santa Monica, California 90407-2131
          DATE:                                                                                 Clerk, by                                                                   , Deputy
          (Fecha)                                                                               (Secretario)                                                                (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
            [SEAL]                                  NOTICE TO THE PERSON SERVED: You are served
                                                    1.     as an individual defendant.
                                                    2.     as the person sued under the fictitious name of (specify):

                                                    3.        on behalf of (specify):
                                                         under:       CCP 416.10 (corporation)                                          CCP 416.60 (minor)
                                                                      CCP 416.20 (defunct corporation)                                  CCP 416.70 (conservatee)
                                                                      CCP 416.40 (association or partnership)                           CCP 416.90 (authorized person)
                                                                      other (specify):
                                                    4.         by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
            Form Adopted for Mandatory Use                                                                                                           Code of Civil Procedure §§ 412.20, 465
              Judicial Council of California
                                                                                        SUMMONS
                                                                                          Ex. 1                            American LegalNet, Inc.                     www.courtinfo.ca.gov
                                                                                                                           www.FormsWorkflow.com
              SUM-100 [Rev. July 1, 2009]

                                                                                               20
Electronically FILED by Superior Court of California, County of Los Angeles on 11/16/2020 09:38 AM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Mariano,Deputy Clerk
                               Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 16 of 26 Page ID #:22

                                                                                                                                                                             POS-010
                  ATIORNEY OR PARTY WITHOUT ATIORNEV (Name, State Ber number, and address):                                                         FOR COURT USE ONI. Y
                   Taylor Rayfield, Esq. (SBN 272300)
                ,___GREENE BROILLET & WHEELER, LLP
                   100 Wilshire Boulevard, 21st Floor
                   Santa Monica, California 90407-2131
                           TELEPHONE NO.: (310) 576-1200                      FAX NO. (Optional):   (310) 576-1220
                  E-MAIL ADDRESS (Optional): trayfield@gbw .law
                     ATIORNEY FOR (Name): Plaintiff, JANE ROE

                   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                      STREET ADDRESS: 312 North Spring Street
                     MAILING ADDRESS: 312 North Hill Street, Los Angeles, CA 90012
                        CITY AND ZIP CODE:        Los Angeles 90012
                               BRANCH NAME:       Spring Street Courthouse
                                                                                                                                  CASE NUMBER:
                         PLAINTIFF/PETITIONER: JANE ROE
                                                                                                                                  20STCV41573

                 DEFENDANT/RESPONDENT: YASIEL PUIG

                                                                                                                                  Ref. No. or File No.:
                                                        PROOF OF SERVICE OF SUMMONS


                                                                  (Separate proof of service is required for each party seNed.)
                 1.      At the time of service I was at least 18 years of age and not a party to this action.
                 2.      I served copies of:
                         a.     C8J    summons
                         b.     ~ complaint
                         c.     ~ Alternative Dispute Resolution (ADR) package
                         d.     ~ Civil Case Cover Sheet (seNed in complex cases only)
                         e.     0cross-complaint
                         f.  ~ other (specify documents): 111 , 3rd & 5111 Amended Standing Orders; Stipulations Packet; Notice of Case
                                  Assignment.
                 3.      a. Party served (specify name of party as shown on documents served): YASIEL PUIG


                         b.    0      Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person
                                      under item Sb on whom substituted service was made) (specify name and relationship to the party named in item 3a):

                 4.      Address where the party was served: 6300 S.W. 126 Street, Pinecrest, Florida

                 5.      I served the party (check proper box)
                         a. C8J by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to                                    \:tW
                                 receive service of process for the party (1) on (date): 11 /6/20             (2) at (time): 8;.18 a.i 11. l 2.: l-fS p Wl
                          b.   0      by substituted service. On (date):                      at (time):                 I left the documents listed in item 2 with or
                                      in the presence of (name and title or relationship to person indicated in item 3):

                                      (1)   D       (business) a person at least 18 years of age apparently in charge at the office or usual place of business
                                                    of the person to be served. I informed him or her of the general nature of the papers.
                                      (2)   D       (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual
                                                    place of abode of the party. I informed him or her of the general nature of the papers.
                                      (3)   D       (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                    address of the person to be served, other than a United States Postal Service post office box. I informed
                                                    him or her of the general nature of the papers.
                                      (4)   D       I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served
                                                    at the place where the copies were left (Code Civ. Proc.,§ 415.20). I mailed the documents on
                                                    (date):                 from (city):                              or     0
                                                                                                                            a declaration of mailing is attached.
                                      (5)   D       I attach a declaration of dlllgence stating actions taken first to attempt personal service.

                   Fonn Adopted for Mandatory Use                                                                                                            Code of Civil Procedure, § 417.10
                       Judicial Council of California                      PROOF OF SERVICE OF SUMMONS
                      POS.010 [Rev. January 1, 2007]                                                Ex. 1

                                                                                                     21
            Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 17 of 26 Page ID #:23



        PLAINTIFF/PETITIONER:            JANE ROE                                                            CASE NUMBER:
                                                                                                             20STCV41573
 DEFENDANT/RESPONDENT: YASIEL PUIG



 5.    c.    0      by mall and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the
                    address shown In item 4, by first-class mail, postage prepaid,

                    (1) on (date):                                                     (2) from (cfy):
                    (3)   0       with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed
                                  to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc.,§ 415.30.)
                    (4)   D       to an address outside California with return receipt requested. (Code Civ. Proc.,§ 415.40.)

       d.    0      by other means (specify means of service and authorizing code section):




             0      Additional page describing service is attached.

 6. The "Notice to the Person Served" (on the summons) was completed as follows:
    a. ~ as an individual defendant.
       b.    D      as the person sued under the fictitious name of (specify):
       c.    0      as occupant.
       d.    D      On behalf of (specify):
                    under the following Code of Civil Procedure section:
                              0      416.10 (corporation)                             0    415.95 (business organization, form unknown)
                              D      416.20 (defunct corporation)                     0    416.60 (minor)
                              0      416.30 Goint stock company/association)          0    416.70 (ward or conservatee)
                              D      416.40 (association or partnership)              0    416.90 (authorized person)
                              0      416.50 (public entity)                           0    415.46 (occupant)
                                                                                      0    other:
7.     Person who served papers
       a. Name: Hubert Wilcox
       b.     Address: National Attorney Solutions, Inc.,           P.O.   Box 144255, Coral Gables,        FL 33114
       c. Telephone number: (305) 300-2718
       d.     The fee for service was: $150.00
       e.     lam:
              (1) D        not a registered California process server.
              <2> D        exempt from registration under Business and Professions Code section 22350(b).
              (3) ~        a registered process server: Badge #855
                           (i)      0   owner       0    employee    0     independent contractor.
                           (ii)     Registration No.:
                           (iii)    County: All Areas

 8.    ~         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                 or
 9.    D         I am a Callfomla sheriff or marshal and I certify that the foregoing is true and correct.

Date: November \ \                  , 2020



Hubert Wilcox
            (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                               (SIGNATURE)




POS.010 [Rev. January 1. 2007]                                PROOF OF SERVICE OF SUMMONS                                                     Page 2 of2
                                                                                                                                American LegalNet, Inc.
                                                                                                                                www.FormoWorldlow.com
                                                                            Ex. 1

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     Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 18 of 26 Page ID #:24
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                                                           20STCV41573
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                                     04/14/2022



                                     04/28/2022

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                                     10/26/2023




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                                              Ex. 1

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Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 19 of 26 Page ID #:25
                                                            2018-SJ-007 -00




                                   Ex. 1

                                    24
        Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 20 of 26 Page ID #:26
                                                                    2 0 18 - S J- 0 0 7 - 00




     FI LI N G O F D O C U M E N T S




     S E R VI C E O F S U M M O N S A N D C O M P L AI N T




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23   S T I P U L A T I O N S T O C O N T I N U E T RI A L




                                                            Ex. 1

                                                             25
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 21 of 26 Page ID #:27
                                                            2 0 1 8 - S J - 0 0 7 - 00




                                   Ex. 1

                                    26
    Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 22 of 26 Page ID #:28
                                                                20 18-SJ-00 7- 00




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                                       Ex. 1

                                        27
Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 23 of 26 Page ID #:29
                                                            2018-S J-007 -00




                                   Ex. 1

                                    28
           Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 24 of 26 Page ID #:30
                                                                       2 0 18 -S J- 0 07 - 00




4   1 7.




                                              Ex. 1

                                               29
     Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 25 of 26 Page ID #:31
                                                                 2018 -SJ-007 -00




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23




                                        Ex. 1

                                         30
       Case 2:20-cv-11064 Document 1-1 Filed 12/04/20 Page 26 of 26 Page ID #:32
                                                                                    Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
JANE ROE
DEFENDANT/RESPONDENT:
YASIEL PUIG et al
                                                                              CASE NUMBER:
                        CERTIFICATE OF MAILING                                20STCV41573

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the PI General Order upon each party or counsel
named below by placing the document for collection and mailing so as to cause it to be deposited in the
United States mail at the courthouse in Los Angeles, California, one copy of the original filed/entered
herein in a separate sealed envelope to each address as shown below with the postage thereon fully
prepaid, in accordance with standard court practices.




    Taylor Rayfield
    Greene Broillet & Wheeler, LLP
    100 Wilshire Boulevard, Suite 2100 P.O. Box 2131
    Santa Monica, CA 90401-2131




                                                        Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 11/16/2020                                       By:    S. Martinez
                                                               Deputy Clerk



                                                       Ex. 1
                                     CERTIFICATE OF MAILING
                                                        31
